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JAMES WYDA
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                                                                                May 20, 2024

Honorable Lydia Kay Griggsby
United States District Judge
United States District Court – Greenbelt
6500 Cherrywood Lane
Greenbelt, MD 20770

          Re:       United States v. Marilyn Mosby, No. 22-cr-007 – Clarification that Defense
                    requests downward variance, not departure

Dear Judge Griggsby:

The Government’s response filing (ECF 525) to the Defense’s sentencing memorandum (ECF
514) has raised the need to clarify several points of import for Ms. Mosby’s sentencing hearing.
The Government characterizes the consideration of Ms. Mosby’s children in the Court’s
sentencing analysis as “not a basis for departure within the Guidelines.” ECF 525 at 7. The
Government refers numerous times in its response to a Guidelines “departure.” Id. 6-8. To
avoid confusion for the sentencing hearing, the following points must be emphasized:

First, Ms. Mosby is seeking a downward variance from the Guidelines range and not a
downward departure. The Defense has never requested a downward departure, and only ever
a downward variance, throughout its sentencing filings. ECF 511, 514, 524.

Second, as the Court knows, there is a distinction between “departures” and “variances” in
federal sentencing jurisprudence. A sentencing “departure” diverges from the Guidelines range
based on the departure grounds/reasons contained within the U.S. Sentencing Commission
Guidelines Manual. See U.S.S.G. Ch.1, Pt.A(1)(4)(b). In other words, the authority for a
“departure” is contained within the Guidelines themselves.

A sentencing “variance,” on the other hand, is a divergence from the Guidelines range based
on the Court’s exercise of discretion under 18 U.S.C. § 3553(a). Variances do not derive their
authority from the Guidelines Manual. See U.S.S.G. § 1B1.1 backg’d (“If . . . the court imposes
a sentence that is outside the guidelines framework, such a sentence is considered a
‘variance.’”). The Court has such authority to impose a sentence that varies from the
Guidelines because United States v. Booker, 543 U.S. 220, 259 (2005), rendered the Guidelines
advisory. The Fourth Circuit has held that variances are not subject to the Guidelines analysis
for departures. See United States v. Williams, 5 F.4th 500, 506-07 (4th Cir. 2021) (rejecting
defendant’s procedural reasonableness argument because district court varied rather than
departed).
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It is a district court’s ability to vary from the Guidelines range that preserves the Court’s ability
to impose a sentence that it views is “sufficient, but not greater than necessary” to meet the
goals of sentencing under 18 U.S.C. § 3553(a), regardless of the Guidelines range. See Gall v.
United States, 552 U.S. 38, 49 (2007) (holding federal appellate courts may not presume that
sentence falling outside range recommended by Guidelines is unreasonable); Rita v. United
States, 551 U.S. 338, 344 (2007).

It is for these reasons that the case law cited by the Government in support of opposing a
“departure” is not persuasive. The Government cites to various cases decided before United
States v. Booker, Gall v. United States, and Rita v. United States. In short, the cases cited by
the Government bear no weight on whether Ms. Mosby should receive a downward variance
under § 3553(a) because of her familial circumstances.

The Government also attaches a transcript from a recent case, United States v. Eddy Blizzard,
No. SAG-22-138, before the Honorable Stephanie A. Gallagher. The circumstances of that case
were far more aggravated than this case and involved a defendant who, as a financial advisor, stole
almost $1,000,000 in retirement savings from his elderly, illiterate financial client. Mr. Blizzard
received a vulnerable victim enhancement, a substantial financial hardship enhancement, and an
abuse of trust enhancement, showing clearly how much more aggravated that case was than the
present. Moreover, the Court did not cite any cases in support of its decision not to consider that
Mr. Blizzard was the main caregiver for his children. Ms. Mosby has cited case law supporting the
consideration of the impact of incarceration on her daughters under § 3553(a). See Ms. Mosby’s
Sentg Mem. 10.

Third, while the Government’s response focuses on the Defense’s point that incarceration will
harm Ms. Mosby’s children, the familial impact – although important – is but one of numerous
reasons supporting the Defense’s request for a downward variance of a non-incarceration
sentence under the § 3553(a) factors.

                                              Respectfully,

                                              /s/ James Wyda
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